                                   UNITED STATES DISTRICT COURT                        Scheduled: 2:00 PM
                                                                                       Started:
                                  FOR THE DISTRICT OF PUERTO RICO                      Ended:
MINUTES OF PROCEEDINGS

HONORABLE AIDA DELGADO-COLON, U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Sulma López-Defilló                      DATE: August 29, 2018

COURT REPORTER: Amy Walker                                 CASE #: CR-18-413 (ADC)

                                                           ATTORNEYS:


UNITED STATES OF AMERICA                            AUSA Kelly Zenon-Matos
                                                    AUSA Vanessa Bonhomme

            VS.

1 Tomas Junior Sanchez-Gonzalez                     Ricardo Izurieta-Ortega

2 Johanny M. Feliciano-Gonzalez                     Francisco M. Dolz-Sanchez
                                                    Ruben Cerezo-Hernandez
3 Tomas Niochard Sanchez-Feliciano

4 Felix A. Perrocier-Garcia                         Edwin Prado-Galarza

5 Daniel Salaman-Rodriguez

6 Rosali Maldonado-Barreto

7 Walkiria Grullon-Rodriguez                        Thomas R. Lincoln-San-Juan

8 Dianna Gonzalez-Agosto                            Claudia Mariela Izurieta-Berrios

9 Hector William Rabsatt

10 Edgardo R. Garcia-Santos                         Ignacio Fernandez-De-Lahongrais

11 Angel L. Umpierre-Ramos

12 Anibal Rosado-Sanchez

13 Bryan S. Hernandez-Valcarcel

14 Maria C. Carmona-Lozada                           Ramon L. Garay-Medina

15 Gabriel Figueroa-Pagan                            Ramon M Gonzalez-Santiago

16 Juan G. Rodriguez-Tosado

17 Steven A. Pagan-Rondon                            Carlos M. Sanchez-La-Costa

18 Orlando M. Torres-Bermudez                        Juan E. Alvarez-Cobian
19. Johnashley Rodriguez-Tosado       Leonardo M. Aldridge

20 Jose R. Matos-Ortiz                Lydia Lizarribar-Masini

21 Omar Quinones-Rivera               Juan A. Albino-Gonzalez

22 Luis A. Oquendo-Maldonado          Luis A. Guzman-Dupont

23 John M. Rentas-Rivera              Jose Aguayo

24 Luis Daniel Soto

25 Ruben Rivera-Chevere                Emilio F. Morris-Rosa

26 Luis N. Santiago-Medina

27 Olga I. Torres-Laruy                Jorge Luis Gerena-Mendez

28 Eduardo Lacodet-Leon                Raymond Rivera-Esteves

29 Exel O. Santiago                    Miguel Oppenheimer

30 Edgardo Martinez-Encarnacion       Johnny Rivera-Gonzalez

31 Christian Febres-Gaetan            Jorge E. Rivera-Ortiz

32 Suhali Salaman                     Rafael Anglada-Lopez

33 Jennifer Santiago-Cabrera          Antonio Bauza-Torres
                                      Melanie Carrillo-Jimenez

34 Eliud Acosta-Rivera       `        Ismael Rodriguez-Izquierdo

35 Mario J. Caban-Leon

36 Noris Gautier-Rios

37 Domingo Castellanos-Pagan          Jose C. Romo-Matienzo

38 Kevin Roman-Bonilla                Manuel L. Morales-Schmidt

39 Christian M. Santiago-Chittenden   Irma R. Valldejuli-Perez

40 Junior Tomas Sanchez-Gonzalez      Edwin E. Leon-Leon

41 Bryan J. Rivera-Conde              Javier A. Morales-Ramos

42 Emmanuel Perrocier-Vazquez         Raymond L. Sanchez-Maceira

43 Kenneth L. Carrasquillo-Marrero

44 Edgardo Castellano-Rivera          Ernesto Hernandez-Milan
45 Jean Paul Castellano-Rivera     Humberto Guzman-Rodriguez

46 Carlos J. Melendez-Fernandez    Kendys Pimentel-Soto

47 Carlos Melendez-Marrero         David Ramos-Pagan

48 Jonathan Edgardo Villa-Otero    Marie L. Cortes-Cortes

49 Jonathan Gonzalez-Agosto       Diego H. Alcala-Laboy

50 Julio C. Rosado-Lacen          David J. Colon-Almenas

51 Hector A. Davila-Encarnacion   Victor P. Miranda-Corrada

52 Jose L. Sierra-Lopez

53 Jaime J. Baez-Torres           Maria Dominguez-Victoriano

54 Otoniel Cabrera-Perez

55 George A. Touma-Abreu

56 Jose L. Melendez-Ramos

57 Carmelo E. Rivera-Rivera

58 Joel Beltran-Rosario

59 Josue O. Encarnacion-Torres    Julie A. Soderlund

60 Jomar Rashid Torres-Torres     Tim Bower-Rodriguez

61 Lee R. Fontanez-Monell         Jose Agustin Arce-Diaz

62 Edgardo R. Lebron-Diaz         Luz M. Rios-Rosario

63 Jean C. Rivera-Castro

64 Roberto C. Ayala-Cancel

65 Joshua L. Collazo

66 Omar Martinez-Encarnacion      Ian Carlos Garcia-Ferreras

67 FNU LNU aka: Bombi, Ollie

68 Carlos J. Caneda-Osorio

69 Jose Z. Ortiz-Pabon            Yassmin Gonzalez-Velez

70 Angel D. Pimentel-Serrano      Lillian N. Miranda-Rodriguez
71 Carlos Valladares-Pagan                  Giovanni Jose Canino-Sanchez

72 Francisco Rosado-Besares                 Marta T. Rey-Cacho

73 Antonio Rodriguez-Aguilar                Jose A. Suarez-Santa

74 Alexander Falcon-Gonzalez                Saul Roman-Santiago

75 Edwin Rodriguez-Torres

76 Benito Valladares-Pagan                  Giovanni Jose Canino-Sanchez
                                            Robert Millan
77 Jose A. Arzola-Sanchez

78 Jaime Rivera-Rosario                     Alejandra Ysabel Bird-Lopez

79 Alex T. Gonzalez-Alcocer                 Rosa Ivette Bonini-Laracuente

80 Leroy F. Perez-Rivera

81 Juan N. Pagan-Encarnacion                Thomas Trebilcock-Horan

82 Yadiel A. Rosario-Fontanez               Hector J. Dauhajre-Rodriguez

83 Rene R. Latony-Rosado                    Jose R. Gaztambide-Aneses

84 Wendy Lee Torres                         Miguel A. Rodriguez-Robles

85 Jose E. Reyes-Allende                    Jose G. Perez-Ortiz

86 Angel Luis Domenech-Maldonado            Mario A. Carrillo-Cotto

87 Felix L. Figueroa-Resto

88 FNU LNU aka: Chapu

89 Waldemar Vega-Torres

90 Christian Rodriguez-Santos               Ovidio E. Zayas-Perez

91 Yadiel A. Malave-Lopez                   Wilfredo Rios-Mendez

92 Sylkia Fernandez-Mitchell                Marie L. Cortes-Cortes

93 Tomas Gonzalez-Lopez aka: Tomas Tomato   Miriam R. Ramos-Grateroles

94 Fernando Santiago-Chittenden

95 Zeuleimary Ramos-Santiago                Fernando Omar Zambrana-Aviles

96 Dereshley Fuertes-Feliciano aka: Dere    Francisco M. Dolz-Sanchez
                                            Ruben Cerezo-Hernandez
97 FNU LNU aka: Yaniel
CASE CALLED FOR STATUS CONFERENCE:

Present at the Status Conference were: see Attendance List.

Attendance List 1st Session set for 2:00 p.m.; Started at 2:16 p.m.; Ended at 2:55 p.m.
Attendance List 2nd Session set for 3:00 p.m.; Started at 3:10 p.m.; Ended at 3:25 p.m.
Attendance List 3rd Session set for 4:00 p.m.; Started at 4:00 p.m.; Ended at 4:30 p.m.
        The Government informed the following:
    •   That 11 defendants are detained in state prisons and 1 defendant (#36) is in the mainland. See
        (Docket No. 422). Petition for Writ of Habeas Corpus Ad Prosequendum filed. Court grants
        petition.
    •   That the 1st “Package with General Discovery” has been provided to all defendants who have
        been arrested. DC’s was provided in Court. The package contains the following: 4 CD’s
        including an Index with 444 items. Among the items provided government mentioned videos;
        audios; documentary evidence including lab reports; information on drug sellers, weapon
        seizures and state and federal prior charges.
Court orders the Government to make available to the defendants who are detained at               MDC-
Guaynabo, 4 copies of the General Discovery Package by 8/31/18.
   •    That the 2nd “Package with General Discovery” will be distributed to all arrested defendants
        by 9/21/18 and that with the same the government will provide 4 to 5 lab reports, 404(B) evidence
        and state court documents.
Court orders that a 2 day (am/pm) OCULAR INSPECTION be arranged after the 2nd Discovery
Package has been submitted. The government will keep attendance list to be subsequently filed.
Attorneys not attending, will wave right to inspect evidence.
   •    That the 3rd “Package with Discovery” will be an individualized one and will be provided by
        10/25/18.

   •    The government will begin to extend plea offers within the next two weeks.

   •    Regarding Weapons charges: are defendant #40, was found with an automatic weapon and
        also defendant #3 who was found with an automatic weapon at the residence of defendant #2
        and in the presence of defendant #96.

   •    That there are no murder charges but there is evidence of violent acts against defendants #1,
        #26, #51 and others.
Court orders the Government to preserve their “rough notes” and to keep copies within its file.
   •    During the second master session held, the government informed that they were going to file a
        Motion to Dismiss as to defendant #48 because he was deceased.

   •    Court was informed that Foster Hearings were held regarding the following defendants and no
        conflict was found: As to defendants #1 and #8 regarding counsel Ricardo Izurieta and Claudia
       Izurieta; As to defendants #2 and #96 regarding counsel Francisco Dolz. Foster Hearing is
       pending as to defendants #71 and #76 regarding counsel Giovanni Canino.

   •   In general, the case relates to undercover drug purchases cancel out by undercover agents or
       cooperating individuals. Most runners and sellers do appear on video recorded transactions.
       There are at least 5 cooperating individuals and similar or larger number of cooperating
       defendants.

   •   Experts: at this point, unless stipulated to, chemists are the only experts anticipated.

   •   The government will meet with attorneys for defendants as to which only testimonial evidence is
       available.

   •   Password to access all electronic discovery was provided to all attorneys.
Court orders the US Marshal NOT TO TRANSFER OUT OF THE JURISDICTION ANY DEFENANT
IN THIS CASE DURING THE NEXT 30 DAYS.
Attorneys listed below shall SHOW CAUSE in writing within 5 days as to why sanctions should not
be imposed for failure to appear to today’s Status Conference.
       1. Ignacio Fernandez De-Lahongrais
       2. Juan A. Albino-Gonzalez
       3. Jorge Luis Gerena-Mendez
       4. Ernesto Hernandez-Millan
       5. David Ramos-Pagan
       6. Julie A. Soderlund
       7. Tim Bower-Rodriguez
       8. Ovidio E. Zayas-Perez
       9. Fernando Omar Zambrana-Aviles

Second Status Conference is set for October 25, 2018 at 3:00 p.m.
      The Court made a finding that the Speedy Trial remains tolled in the interest of justice which
outweighs the best interest of the public and the defendants under 18 U.S.C. Sec. 3161(h)(7)(A).



                                                        s/ Sulma López-Defilló
                                                        Sulma López-Defilló
                                                        Courtroom Deputy Clerk
